 Case 23-30771-sgj7        Doc 48-1 Filed 09/05/23 Entered 09/05/23 20:14:44              Desc
                               Proposed Order Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 In re:                                         §
                                                §
 CARL GERARD DORVIL,                            § Case No. 23-30771-sgj7
                                                § Chapter 7
                    Debtor.                     §

                  ORDER GRANTING EMERGENCY MOTION OF
          CARL GERARD DORVIL FOR RELIEF FROM THE AUTOMATIC STAY


          On September 5, 2023, the Emergency Motion for Relief from the Automatic Stay (the

“Motion”) was filed by Carl Gerard Dorvil (the “Debtor”), the debtor in the above-referenced case.

The Court finds that the Motion was properly served pursuant to the Federal and Local Rules of

Bankruptcy Procedure, and that good cause exists for the entry of the following order.

      IT IS THEREFORE ORDERED that the Motion is granted as provided herein; and it is

further


ORDER GRANTING MOTION FOR RELIEF FROM STAY TO PURSUE LITIGATION - PAGE 1 OF 2
    Case 23-30771-sgj7            Doc 48-1 Filed 09/05/23 Entered 09/05/23 20:14:44                  Desc
                                      Proposed Order Page 2 of 2



         ORDERED that the automatic stay provided by 11 U.S.C. § 362 is modified as set forth

herein so that the Debtor may proceed against Charles Mason and Kathleen Mason in the State

Court Action1 to prosecute his existing post-judgment rights and to file an appeal of the Judgment,

if necessary; and it is further

         ORDERED that the fourteen (14) day stay required under Bankruptcy Rule 4001(a)(3) is

hereby waived.

                                           # # # END OF ORDER # # #

Submitted by:

Melissa S. Hayward
  Texas Bar No. 24044908
  MHayward@HaywardFirm.com
HAYWARD PLLC
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel./Fax: (972) 755-7100

Special Counsel for the Debtor




1
    Capitalized terms not otherwise defined herein shall have the meaning set forth in the Motion.


ORDER GRANTING MOTION FOR RELIEF FROM STAY TO PURSUE LITIGATION - PAGE 2 OF 2
